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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

YAZMIN JUAREZ COYOY on Her Own                     '
Behalf and as Surviving Parent of Mariee           '
Camyl Newberry Juarez,                             '
                                                   '
                         Plaintiff,                '
                                                   '
v.                                                 '                   SA-19-CA-916-FB
                                                   '
CORECIVIC, INC.,                                   '
                                                   '
                         Defendant.                '

                                               ORDER

       Before the Court are Defendant’s Motion to Compel (Docket Entry 36) and Plaintiff’s

Motion to Compel Discovery (Docket Entry 43). These motions were referred by District Court

to undersigned for determination and ruling. (See Docket Entries 39, 44.)

       A hearing was held on the motions on November 17, 2020. In accordance with the Court’s

rulings at the hearing, it is hereby ORDERED as follows:

       (1)    Defendant’s Motion to Compel (Docket Entry 36) is GRANTED IN PART,

              DENIED IN PART, and DENIED WITHOUT PREJUDICE IN PART, as

              follows:

                         (a)     With regard to Requests for Production 7 and 26, Plaintiff must

                         produce all responsive medical records from March 1, 2017, to present, and

                         all medical records that (i) are from a mental health provider or (ii) reflect

                         a mental health condition or treatment. To the extent the production of

                         such documents require a medical release, such release must be executed

                         on or before December 3, 2020.
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               (b)       With regard to Request for Production 8, Plaintiff must provide the

               entire printout of Plaintiff’s Instagram account.        To the extent such

               production requires a release, such release must be executed on or before

               December 3, 2020.

               (c)       With regard to Requests for Production 18, 19, and 27, Plaintiff must

               produce immigration documents received in response to her FOIA requests

               within fourteen (14) days of receipt.

               (d)       With regard to Request for Production 34, Plaintiff must provide all

               responsive photographs in her possession taken from March 1, 2017 to

               present. Such production must be made on or before December 17, 2020.

               (e)       With regard to Interrogatory 6, Plaintiff must identify all court or

               administrative proceedings responsive to the interrogatory from March 1,

               2017, to present, and must further identify any family law dispute involving,

               or restraining order sought against, the father of Mariee Camyl Newberry

               Juarez.

               (f)       All other requests in Defendant’s motion are DENIED.           Such

               denial, however, is without prejudice to reconsideration should the

               discovery received in response to this Order support a renewal of any

               request.

               (g)       No expenses are awarded. See FED. R. CIV. P. 37(a)(5)(A)(ii), (iii).

(2)     Plaintiff’s Motion to Compel Discovery (Docket Entry 43) is DENIED AS

       WITHDRAWN.


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SIGNED on November 17, 2020.                         2020.11.1
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                                   Henry J. Bemporad -06'00'
                                   United States Magistrate Judge




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